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                    Exhibit 1
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 To achieve a divestiture that would allow the divestiture buyer to maintain the
 same competitive intensity as the current Yale business, the United States proposes
 a divestiture of the following assets. (“Fortune” and “Fortune Brands”, as used
 below, means Fortune Brands so long as the divestiture and underlying merger
 close [*]substantially simultaneously; if not then provision for an alternate acquiror
 will need to be made in the event the divestiture is not completed. Fortune may be
 needed to be made a defendant by stipulation for purposes of enforcement of the
 proposed Final Judgment.)

     1. All assets and agreements previously offered as Divestiture Assets by Assa
        Abloy, including all assets subject to the December 1, 2022 SPA between Assa
        Abloy and Fortune Brands, as well as all additional agreements contained in
        the April 10, 2023 closing implementation letter between Assa Abloy and
        Fortune Brands, and any other agreements entered into by Assa Abloy and
        Fortune Brands, subject to the further assurances and wrong pockets clause
        in the SPA. These assets include all Emtek-, Yale Smart Residential-, and
        August assets that had been previously proposed as part of a divestiture
        remedy, tangible and intangible, and whether in the U.S. or elsewhere.
        previously offered as Divestiture Assets by ASSA ABLOY, including all
        assets subject to the December 1, 2022 SPA between ASSA ABLOY and
        Fortune Brands, as well as all additional agreements contained in the April
        10, 2023 closing implementation letter between ASSA ABLOY and Fortune
        Brands, and any other agreements entered into by ASSA ABLOY and
        Fortune Brands, subject to the further assurances and wrong pockets clause
        in the SPA.

     2. In addition to theTo the extent not already included in the assets and
        agreements described in 1., contemporaneous transfer at closing of the
        following IP assets associated with Assa Abloy’sASSA ABLOY’s Yale
        brand and related IP in the United States and Canada:

            a. Ownership and exclusive unrestricted use of the Yale brand name and
               the business goodwill associated therewith in the U.S. and Canada for
               all residential and multifamily smart lock1 uses (including all
               interconnect and nextTouch products smart locks for residential and
               multifamily2 uses and nexTouch smart locks for residential and
               multifamily uses and any future products with similar functionality
               and applications) without further limitation as to category or
               customer segment, subject to 2.c below;

            b. An exclusive irrevocable license to the Yale Access software platform in
               the United States and Canada for all uses in products or services
               described in 1. or 2.a;

1 Settlement agreement will contain a definition of smart locks that carves out unrelated products.
2 Settlement agreement will contain a definition of multifamily that covers mixed use buildings with an

agreed upon magnitude of residential usage.
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  c. Assa AbloyASSA ABLOY shall have the right to use the Yale brand
     name in the US and Canada solely for commercial products for a
     transitional, wind- down period for [*] months, and (i)as set forth in
     the transaction documents, and (i) in addition to its acquisition of
     residential Yale branded smart locks in connection with the
     acquisition of August Home, Inc. and ASSA ABLOY Residential
     Group Inc., Fortune shall purchase all of Seller’s inventory as of
     Closing that is branded Yale smart locksin the residential mechanical
     space subject to the terms and conditions of the supply agreement; (ii)
     Assa AbloyASSA ABLOY shall within [*] months following the
     closing commence a brand
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      transition for its Yale branded commercial products in the United States and Canada,
         which shall be completed no later than [*] months after commencement.

      3. Assa AbloyASSA ABLOY and Fortune will perform their obligations
         under the SPA in a manner consistent with the implementation letter.

      4. Assa Abloy must transfer to Fortune the nonexclusive rights to use all
         patents, trademarks, designs, or other intellectual property necessary to
         effectuate 1) and 2). If at any time after the closing, Fortune notifies Assa
         AbloyASSA ABLOY in writing of any Patents that (i) are owned by Assa
         AbloyASSA ABLOY or its Affiliates as of the Closing Date; (ii) are not
         licensed to an Acquired Entity under the Seller Patent License Agreement;
         and (iii) are necessary to effectuate transfers contemplated in 1) or 2were
         used on or before the closing date in the Business (as defined in the SPA) or
         contemplated to be used in connection with the Business’ product roadmap
         provided to Fortune, such Patents shall automatically be deemed “Licensed
         Patents” (as defined in the Seller Patent License Agreement) and licensed to
         Buyer pursuant to the Seller Patent License Agreement effective as of the
         closing.

      5. For a period of five (5) years following the closing, Fortune shall have the
         right to request a code base assessment of the Yale Access software platform
         once per year in order to inventory the proprietary libraries comprising the
         Yale Access Software and confirm whether any of the baseline libraries are
         included within Assa Abloy’sASSA ABLOY’s US or Canadian products.

      6. A monitoring trustee selected solelyjointly by the United States, ASSA
         ABLOY, and Fortune Brands with power and authority to monitor
         compliance with the PFJ (including all portions of this term sheet) and
         interparty agreements. The term of the monitorship will be no longer than
         [*] years.

      7. In addition to any other rights provided for in the transaction agreements,
         Assa AbloyASSA ABLOY and Fortune will each have the right to initiate a
         mutually agreed upon expedited dispute resolution process in the event of a
         dispute over the extent of either party’s rights under the transaction
         documents, including whether an application is multifamily, commercial or
         residential and all other intellectual property rights set forth in the
         agreements between the parties in connection with the transaction. In any
         such dispute over whether an application is multifamily, commercial or
         residential, ASSA ABLOY shall bear the burden of proof, and the losing
         party will pay all expenses. With respect to a dispute under the supply
         agreement, Assa Abloy and Fortune will each have the right to initiate a one-
         day binding arbitration by the monitoring trustee to be held within 5 days of
         notice by either party for the term of the monitorship. After the expiration of
         the
and
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monitorship until the expiration of the Final Judgment, ASSA ABLOY and Fortune
  will each party will have the right to initiate a one-day binding arbitration to
  be held within 3015 days of notice by either party .

8. The term of the supply agreement may be extended, at the buyer’s election,
   with respect to the NextTouchnexTouch and the interconnect locks for a
   period of a total of [*] years (including the initial term). During this
   additional extension, the price for such products will escalate according to a
   mutually agreed escalation mechanism. Disputes over the pricing term will
   be resolved by the monitoring trustee.

9. A damages provision whereby Assa AbloyASSA ABLOY will pay the United
   States $50,120[*] per day for every day after [*], 2023 on which the closing
   in any of Vietnam, South Korea, or Hong Kong has not occurred to the
   extent any such delay is caused by ASSA ABLOY.

10. Assa Abloy has represented that it is divesting all of the assets necessary for
    Fortune (or the other acquiror) to compete in residential smart locks and
    premium mechanical door hardware in the United States as intensely as
    Assa Abloy did before the Divestiture Date. If, anytime up to [*]If, after
    three years following the closing and until the date that is five years from
    entry of this Final Judgment, the monitoring trustee determines, after
    investigation and consultation with Assa AbloyASSA ABLOY and Fortune
    (or the other acquiror), that:

      a. Fortune’s (or the other acquiror’s) competitive intensity in the
         residential smart locks or premium mechanical door hardware
         business has diminished relative to Assa Abloy’sASSA ABLOY’s
         competitive intensity in those businessesthat business before the
         Divestiture Date; and

      b. Assets that were not conveyed to Fortune (or the other acquiror) as a
          part of the divestiture (whether or not those assets were supposed to
          have been conveyed to Fortune (or the other acquiror) pursuant to the
          divestiture) contributed in a non de minimus way to that
          diminishment in competitive intensity, then
      b. such diminishment in competitive intensity is due to limitations on
          Fortune’s right to use the Yale marks in the United States and
          Canada previously held by ASSA ABLOY, then

   the monitoring trustee may provide a written report of the monitoring
   trustee’s conclusions to the United States, and the United States, in its sole
   discretion, will have the ability to seek leave of the Court to re-open this
   proceeding and seek the transfer of additional reliefYale trademark rights
   in the United States and Canada to Fortune Brands.
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                           ATTORNEY
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                                                      to off in modified.].

     11. All procedural provisions of the United States’ standard Final Judgment
         shall apply and the United States retains and reserves all rights to enforce
         the provisions of the Final Judgment.
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                             Summary report:
 Litera® Change-Pro for Word 10.10.0.103 Document comparison done on
                           4/30/2023 8:01:33 PM
Style name: Default Style
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Original filename: Friday Term Sheet Final (Rule 408).docx
Modified filename: Revised Term Sheet (April 30).doc
Changes:
Add                                                        42
Delete                                                     41
Move From                                                  0
Move To                                                    0
Table Insert                                               0
Table Delete                                               0
Table moves to                                             0
Table moves from                                           0
Embedded Graphics (Visio, ChemDraw, Images etc.)           0
Embedded Excel                                             0
Format changes                                             0
Total Changes:                                             83
